Case 2:17-cv-04593-WJM-MAH Document 91 Filed 07/06/22 Page 1 of 1 PageID: 2104




                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


  REPUBLIC FRANKLIN INSURANCE CO.,

               Plaintiff,
                                                    Civ. No. 2:17-cv-4593 (WJM)
        v.
                                                             ORDER
  TRAVELERS CASUALTY INSURANCE CO.
  OF AMERICA.

               Defendant.


 WILLIAM J. MARTINI, U.S.D.J.

       THIS MATTER comes before the Court on the parties’ competing motions for
 summary judgment. ECF Nos. 80, 81. For the reasons set forth in the accompanying
 Opinion, and for good cause appearing;

       IT IS on this 6th day of July 2022,

       ORDERED that Plaintiff Republic Franklin Insurance Company’s motion, ECF
 No. 81, is DENIED; and it is further

         ORDERED that Defendant Travelers Casualty Insurance Company of America’s
 motion, ECF No. 80, is GRANTED and the Complaint is DISMISSED with prejudice;
 and it is further

       ORDERED that the Clerk of Court shall mark this matter CLOSED.



                                                   /s/ William J. Martini
                                               WILLIAM J. MARTINI, U.S.D.J.
